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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FCS ADVISORS, LLC,

                                        Plaintiff,

                   —against—                                    21 Civ. 6995 (PKC)
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”; THEIA
AVIATION, LLC; and THEIA HOLDINGS
A, INC., d/b/a “THORIAN HOLDINGS,”


                                     Defendants.


                   FIRST APPLICATION FOR ALLOWANCE OF
              COMPENSATION AND REIMBURSEMENT OF EXPENSES
                OF REED SMITH LLP, AS COUNSEL TO RECEIVER

       Reed Smith LLP (“Reed Smith” or the “Firm”), counsel to Michael Fuqua, as receiver (the

“Receiver”) for Theia Group, Inc., Theia Aviation LLC, and Theia Holdings A, Inc. (collectively,

the “Receivership Entities”), respectfully submits this application (this “Application”), pursuant

to the Order Appointing Michael Fuqua as Receiver (Doc. 117) signed on November 8, 2021 (the

“Receivership Order”) for an allowance of compensation in the amount of $1,212,009.50,

reimbursement of expenses in the amount of $61,961.99, and approval of a security retainer in the

amount of $50,000, for a total of $1,323,971.49 in the above-captioned matter (this “Case”) for

the period of November 4, 2021 through March 31, 2022 (the “Application Period”). In support

of the Application, Reed Smith contemporaneously has filed the (i) Declaration of Kurt F.

Gwynne, Esq., in Support of First Application for Allowance of Compensation and Reimbursement

of Expenses of Reed Smith LLP, as Counsel to Receiver (the “Gwynne Decl.”), and (ii) Declaration

of Rizwan A. Qureshi, Esq., in Support of First Application for Allowance of Compensation and
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Reimbursement of Expenses of Reed Smith LLP, as Counsel to Receiver (the “Qureshi Decl.”). In

further support of the Application, Reed Smith respectfully states as follows:

                                          BACKGROUND

        1.       On November 8, 2021, the United States District Court for the Southern District of

New York (this “Court”) appointed the Receiver as a federal receiver for the assets of the

Receivership Entities pursuant to the Receivership Order.

        2.       The Court authorized the Receiver to retain professionals (the “Retained

Personnel”) to assist him in carrying out the duties and responsibilities in the Receivership Order

“on terms the Receiver determines to be reasonable in his discretion.” See Receivership Order,

¶ 11. The Receiver and any Retained Personnel are entitled to (i) reasonable compensation for the

performance of duties under the Receivership Order and (ii) the cost of actual and reasonable out-

of-pocket expenses incurred by the Receiver and any Retained Personnel for those services

authorized by the Receivership Order that were (i) reasonably likely to benefit the receivership

estate or (ii) necessary to the administration of the estate. Id.

        3.       The Receivership Order further provides that (i) “[t]he Receiver may make

payments and disbursements from the receivership estate that are necessary or advisable for

carrying out the directions of, or exercising the authority granted by,” the Receivership Order and

(ii) Retained Personnel hired by the Receiver “shall be compensated solely out of funds now held

by or in the possession or control of or which may in the future be received by the Receivership

Entities.” See Receivership Order, ¶¶ 7, 11. The Receiver is required to obtain the approval of the

Court for any payment or disbursement to the Receiver or his firm or that exceeds $300,000. See

Id., ¶ 7.




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       4.      The Receiver retained Reed Smith as his counsel in this Case. See Gwynne Decl.,

¶ 6. The Reed Smith professionals engaged to represent the Receiver constitute “Retained

Personnel” under the terms of the Receivership Order.

       5.      During the Application Period, Reed Smith assisted the Receiver, as agent of the

Court, in connection with the Court’s directives that the Receiver (i) “take exclusive custody,

control, and possession” of the Receivership Entities’ assets; (ii) “take all steps necessary to secure

the business premises of the Receivership Entities and any and all other premises under the control

of the Receivership Entities;” (iii) “preserve, hold, and manage all receivership assets, and perform

all acts necessary to preserve the value of the receivership assets;” (iv) “seek a bona fide purchaser

of the Receivership Entities’ Federal Communications Commission (‘FCC’) License Assets;” and

(v) “borrow funds on behalf of the receivership estate.” See Receivership Order, ¶¶ 3, 6, 7, 8, 13;

see also Gwynne Decl., ¶ 7.

                 REED SMITH’S APPLICATION FOR COMPENSATION

                               Compensation Paid and Its Source

       6.      All services and costs for which Reed Smith seeks compensation were performed

for, or on behalf of, the Receiver and the Receivership Entities during the Application Period. See

Gwynne Decl., ¶ 8.

                                           Fee Statement

       7.      The fee statement for Reed Smith for the Application Period is attached to this

Application as Exhibit B. This statement contains daily time logs describing the time spent by

each attorney and paraprofessional for the Application Period, and is separated into two separate

categories: (i) general legal counsel to the Receiver in connection with his exercise of his duties

as Receiver (Matter No. 60001) and (ii) counsel with respect to the ongoing Department of Justice

investigation into the Receivership Entities (Matter No. 60002). See Gwynne Decl., ¶ 9.


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       8.      The billing rates for the Reed Smith professionals that worked on this Case, as set

forth in Exhibit C, are those Reed Smith customarily charges for legal services to other clients of

the Firm. See Gwynne Decl., ¶ 10.

       9.      Reed Smith reduced the amount of its requested fees by $59,805 (89.30 hours) in

the aggregate, which represents the sum of (a) fees in the amount of $50,762 (73.90 hours) incurred

while working on matters related to the receivership financing with respect to which King &

Spalding LLP has since been engaged, including, without limitation, fees and expenses incurred

in (i) negotiating the terms and conditions of the receivership financing with counsel for FCS

Advisors, LLC (“FCS”); (ii) investigating and analyzing the nature and extent of FCS’ liens against

and security interests in property of the Receivership Entities; (iii) analyzing and researching the

validity of the Receivership Entities’ counter-claims asserted against FCS in this Case; and

(iv) research, analysis, and drafting in connection with the Receivers’ response to Non-Party

Creditor TG Capital Services LLC’s Memorandum of Law in Opposition to the Receiver’s Motion

to Obtain a First Priority Priming Loan Facility from Plaintiff/Brevet (Doc. 167) and (b) fees in

the amount of $9,043 (15.40 hours) incurred by certain de minimis timekeepers who billed 2.00

hours or less during the Application Period. See Gwynne Decl., ¶ 11.

       10.     In addition to the fees and expenses incurred during the Application Period, Reed

Smith is requesting the advancement of a security retainer in the amount of $50,000, which has

been included in the 13-week budget approved by FCS, in its capacity as lender pursuant to the

Order Authorizing Receiver to Obtain Receivership Financing from FCS Advisors, LLC

(Doc. 206). See Gwynne Decl., ¶ 12.




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                     Cumulative Compensation Summary By Reed Smith Professionals

                         Matter No. 60001—General Legal Counsel to the Receiver

                         Position, Year Assumed Position,
                            Prior Relevant Experience,                                      Total
       Professional                                                2021 Rate   2022 Rate            Total Fees
                             Year Obtained Relevant                                         Hours
                                License to Practice
                      Partner; Member of the Pennsylvania
                      Bar since 1992; Member of the New
Kurt F. Gwynne                                                     $1,055.00   $1,125.00   162.90   $177,907.50
                      York, Delaware and New Jersey Bars.
                      Joined the Firm in 2001.
                      Partner, Member of the Illinois Bar
Mark S. Hersh                                                      $910.00     N/A         2.90     $2,639.00
                      since 1983; Joined the Firm in 2000.
                      Counsel; Member of the New Jersey
Christopher A. Lynch  and New York Bars since 2004;                $880.00     $935.00     81.40    $74,140.00
                      Joined the Firm in 2009.
                      Partner; Member of the Pennsylvania
Brian M. Schenker     and New Jersey Bars since 2008;              $780.00     $780.00     25.00    $19,500.00
                      Joined the Firm in 2009.
                      Associate; Member of the New Jersey
                      Bar since 2013; Member of the
Jason D. Angelo       Delaware, Pennsylvania and New               $605.00     $695.00     377.00   $248,227.00
                      Jersey Bars;
                      Joined Firm in 2018.
                      Associate; Member of the California
Kathryn M. Bayes      Bar since 2021;                              $535        $615        2.10     $1,235.50
                      Joined the Firm in 2021.
                      Associate; Member of the New York
Derek M. Osei-Bonsu   Bar since 2017;                              N/A         $575.00     3.90     $2,242.50
                      Joined the Firm in 2021.
Austin D. Skelton     Associate; Joined the Firm in 2021.          N/A/        $535        2.50     $1,337.50
                      Associate; Member of the
Emily C. Costantinou  Pennsylvania Bar since 2021;                 $455.00     $505.00     24.90    $11,869.50
                      Joined the Firm in 2021.
Jennifer A. Marcolini Paralegal; Joined the Firm in 2022.          N/A         $395.00     20.10    $7,939.50
Christopher LauKamg   Paralegal; Joined the Firm in 2013.          $350.00     $375.00     98.10    $35,725.00
Sherri L. Lauritzen   Paralegal; Joined the Firm in 2011.          $350.00     N/A         4.60     $1,655.50
Shikendra B. Rhea     Paralegal; Joined the Firm in 2019.          $295.00     N/A         4.20     $1,245.00
TOTAL FOR MATTER 60001:                                                                    809.60   $585,663.50

               Matter 60002—Counsel with respect to Department of Justice Investigation

                              Position, Year Assumed Position,
                                 Prior Relevant Experience,                                 Total
      Professional                                                 2021 Rate   2022 Rate            Total Fees
                                  Year Obtained Relevant                                    Hours
                                     License to Practice
                           Partner; Member of the New York Bar
                           since 2008; Member of the District of
Rizwan (Rizzy) Qureshi                                             $810.00     $950.00     43.10    $40,273.00
                           Columbia Bar.
                           Joined the Firm in 2019.
                           Associate; Member of the Virginia Bar
Justin W. Angotti                                                  $475.00     $530.00     25.40    $15,113.00
                           since 2021; Joined the Firm in 2021.



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                      Position, Year Assumed Position,
                          Prior Relevant Experience,                                 Total
      Professional                                          2021 Rate   2022 Rate             Total Fees
                           Year Obtained Relevant                                    Hours
                              License to Practice
                    Associate; Member of the
Jonathan S. Barrera California Bar since 2021;              N/A         $595.00     75.60     $39,925.00
                    Joined the Firm in 2021.
                    E-Discovery Associate;
Shelley H. Kelly    Member of the Massachusetts Bar since   N/A         $470.00     6.30      $2,961.00
                    2003; Joined the Firm in 2018.
                    E-Discovery Associate; Member of the
Todd R. Fairman     Pennsylvania Bar since 1999;            N/A         $300.00     329.30    $98,790.00
                    Joined the Firm in 2011.
                    E-Discovery Associate; Member of the
                    New York Bar since 1988; Member of
Sharon A. Doherty                                           N/A         $250.00     275.30    $68,825.00
                    the Pennsylvania Bar since 2005;
                    Joined the Firm in 2013.
                    E-Discovery Associate;
Victoria Lee        Member of the Pennsylvania Bar since    N/A         $250.00     280.60    $70,150.00
                    1981; Joined the Firm in 2009.
                    E-Discovery Associate; Member of the
John Muir           Pennsylvania Bar since 2001;            N/A         $185.00     253.50    $46,897.50
                    Joined the Firm in 2012.
                    E-Discovery Associate; Member of the
Arbaaz Rao          Pennsylvania Bar since 2018;            N/A         $185.00     240.60    $44,511.00
                    Joined the Firm in 2019.
                    E-Discovery Associate; Member of the
                    New York Bar since 1982; Member of
Adrienne E. Johnson                                         N/A         $165.00     266.60    $43,989.00
                    the Pennsylvania Bar since 1982;
                    Joined the Firm in 2018.
                    E-Discovery Associate; Member of the
Alexander N. Alioto Pennsylvania Bar since 2010;            N/A         $165.00     271.70    $44,830.50
                    Joined the Firm in 2014.
                    E-Discovery Associate; Member of the
Lance V. McFadden   Pennsylvania Bar since 2014;            N/A         $165.00     281.80    $46,497.00
                    Joined the Firm in 2014.
                    E-Discovery Associate; Member of the
Frank V.G. Arcuri   Pennsylvania Bar since 2012;            N/A         $80.00      274.10    $21,928.00
                    Joined the Firm in 2020.
                    E-Discovery Associate; Member of the
Andrew R. Smith-
                    Pennsylvania Bar since 2004;            N/A         $80.00      276.00    $22,080.00
Hoffman
                    Joined the Firm in 2020.
                    E-Discovery Associate; Member of the
William L. Puchnick Pennsylvania Bar since 1989;            N/A         $80.00      244.70    $19,576.00
                    Joined the Firm in 2019.
TOTAL FOR MATTER 60002:                                                             3144.60   $626,346.00

                                                Grand Total:                          $1,212,009.50
                                                Attorney Compensation:                $1,165,444.50
                                                Total Attorney Hours:                 3,827.20
                                                Non-Attorney Compensation:            $46,565.00
                                                Total Non-Attorney Hours:             127.00
                                                Blended Rate (All Timekeepers):       $385.43



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                                  Summary of Services Rendered

       11.      Reed Smith worked expeditiously and efficiently with the Receiver and his team to

provide legal services to the Receiver. See Gwynne Decl., ¶ 14; Qureshi Decl., ¶ 8. As set forth

in the invoices attached as Exhibit C, the activities performed and services provided by Reed

Smith during the Application Period include, without limitation, the following:

             a. Notices of Receivership. Reed Smith assisted with the drafting and filing of
                various Notices of Receivership pursuant to 28 U.S.C. § 754 in each of the federal
                District Courts in which property of the Receivership Entities (based on information
                to date) is or may be located.

             b. Notices of Stay and Extension of Stay. Following a review of the Receivership
                Entities’ records and a nationwide search of pending litigations (or arbitrations) in
                state and federal courts, Reed Smith assisted with the drafting and filing of Notices
                of Receivership Stay and Notices of Extension of Receivership Stay in fifteen (15)
                pending litigation matters and corresponded with counsel to adversaries in such
                actions regarding receivership process.

             c. Turnover of Client Files. Reed Smith contacted a number of law firms and
                attorneys previously engaged by the Receivership Entities and directed such
                professionals to turn over to the Receiver their legal files concerning the
                Receivership Entities. Reed Smith professionals and the Receiver have or are in
                the process of reviewing and analyzing certain of such files.

             d. Engagement with Directors & Officers. Together with the Receiver, Reed Smith
                engaged with, and conducted interviews of, certain former officers and members of
                the board of directors of the Receivership Entities and their subsidiaries and
                affiliates. The Firm also assisted with the turnover of property of the Receivership
                Entities in the possession or control of current and former officers and members of
                the board of directors. Further, Reed Smith assisted the Receiver with the
                termination of such individuals’ agency or other authority to bind the Receivership
                Entities. Separately, Reed Smith analyzed the Receivership Entities’ Directors &
                Officers’ liability insurance policies and claims asserted thereunder.

             e. Financial & Corporate Information. Reed Smith assisted the Receiver’s ongoing
                efforts to obtain all information related to the Receivership Entities’ finances,
                including all bank account records. In connection with such efforts, Reed Smith
                prepared and issues subpoenas duces tecum to Wells Fargo and PNC Bank,
                whereby the Receiver requested the production of documents and electronically
                stored information related to certain checking and credit card accounts identified as
                being held at each respective financial institution in the name of one or more of the
                Receivership Entities. Reed Smith also assisted the Receiver in his investigation



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     of the Receivership Entities’ use of “CARES ACT” / “Payment Protection
     Program” funds, and engaged with JP Morgan Chase regarding the related Small
     Business Administration guaranty with respect to such amounts. Additionally, the
     Firm subpoenaed the Receivership Entities’ registered agents and obtained
     information regarding the corporate structure and history of the Receivership
     Entities and dozens of related entities.

  f. Unexpired Leases & Executory Contracts. Reed Smith reviewed and analyzed
     lease agreements concerning premises previously occupied by one or more of the
     Receivership Entities and engaged in discussions with certain landlords regarding
     the receivership process. The Firm also reviewed and analyzed numerous
     employment, consulting and other service agreements to which the Receivership
     Entities were a party. Thereafter, Reed Smith drafted and filed a motion for an
     Order authorizing the rejection (to the extent executory or unexpired) of certain
     contracts and leases set forth therein.

  g. “Friends & Family” Notes. Reed Smith coordinated the Receiver’s obtaining
     possession and reviewing of hundreds of “friends & family” notes (along with
     amendments thereto, and related ancillary documents).

  h. Receivership Financing. Prior to the entry of the Court’s Order to Show Cause,
     Reed Smith assisted the Receiver in negotiating a term sheet providing for, inter
     alia, a $5,000,000 loan, a first-priority, priming lien, interest at the rate of 12% per
     annum, and a maturity date six (6) months after execution. Reed Smith drafted the
     loan documents related to the receivership financing and also drafted and filed a
     motion for an Order approving such financing. The Firm conducted lien searches
     and analyses with respect to property subject to the Uniform Commercial Code,
     along with intellectual property and items subject to the Federal Aviation
     Administration’s lien registry system. To address the concerns set forth in the
     Order to Show Cause, the Receiver retained King & Spalding LLP to represent him
     in relation to the financing. Working with the Receiver, King & Spalding LLP
     confirmed that the financing was fair and appropriate. The Court thereafter
     approved the financing.

  i. Sales Processes. With respect to the sale of the FCC and NOAA licenses, Reed
     Smith assisted the Receiver in the negotiation of the terms of retention of PJT
     Partners LP (“PJT”) as investment banker and drafted a motion to approve such
     retention. The Firm assisted in the ongoing sales process by drafting non-disclosure
     agreements (“NDAs”) and working closely with PJT to develop a “process letter,”
     address confidentiality concerns, and strategizing regarding the sales process and
     procedures. Reed Smith also negotiated multiple NDAs with potential purchasers.
     Additionally, to aid in the efficient liquidation of the Receivership Entities’ assets,
     Reed Smith drafted and filed a motion for an Order establishing procedures for the
     sale or disposition of de minimis assets with a gross selling price less than or equal
     to $100,000. The Court granted the requested relief, and Reed Smith has since




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     assisted the Receiver in connection with the ongoing disposition of de minimis
     assets and the required notice thereof.

  j. Miscellaneous Court Filings. In addition to the motions discussed above
     (including with respect to the rejection of unexpired leases and executory contracts,
     the receivership financing; the retention of PJT as investment banker, and the de
     minimis asset sales and abandonment procedures), Reed Smith drafted, filed, and
     served multiple notices of subpoenas duces tecum, stipulations with third parties
     regarding the extension of certain deadlines, certificates of no objection, a
     certification of counsel, and responses to various objections to the relief sought by
     the aforementioned motions.

     Further, Reed Smith assisted the Receiver in drafting and filing his first two (2)
     interim status reports to the Court. The Firm also maintains and regularly updates
     the “master service list” of the individuals and entities that are parties in interest
     and entitled to receive notice of the Receiver’s filings in this Case.

     Reed Smith did not bill the Receiver with respect to time incurred in responding to
     Non-Party Creditor TG Capital Services LLC’s Memorandum of Law in Opposition
     to the Receiver’s Motion to Obtain a First Priority Priming Loan Facility from
     Plaintiff/Brevet (Doc. 167) and, accordingly, reduced the Firm’s fees by $50,742.

     Reed Smith drafted the Receiver’s response to the Court’s Order to Show Cause
     regarding the continuing of the receivership after March 9, 2022.

     Reed Smith drafted a motion seeking entry of an Order extending the receivership
     stay by approximately five (5) months, through and including July 15, 2022,
     without prejudice to the Receiver’s right to request further extensions of the
     receivership stay, which the Court granted.

  k. DOJ Investigation. Reed Smith has and continues to assist the Receiver in
     responding to four (4) grand jury subpoenas issued by the United States District
     Court for the District of Columbia to produce certain documents, including two (2)
     subpoenas issued to the Receivership Entities prior to the Receiver’s appointment.
     Reed Smith’s review is intended to ensure the Receiver maintains the legal and
     evidentiary privileges of the Receivership Entities, as well as to comply with any
     existing agreements between the Receivership Entities and third parties to prevent
     disclosure of confidential or proprietary information. Reed Smith has worked to
     ensure that any production of responsive documents to the U.S. Attorney’s Office
     for the District of Columbia does not create legal exposure for the Receivership
     Entities by inadvertently waiving privilege or disclosing confidential or proprietary
     documents in breach of an agreement with a third party, which could also affect the
     Receiver’s ability to maximize the value of the Receivership Entities’ assets. Reed
     Smith assisted the Receiver and his team with a substantial amount of work
     assembling, reviewing, and producing tens of thousands of pages of documents in
     regard to the subpoena and related information requests from the U.S. Attorney’s



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               Office for the District of Columbia. Reed Smith’s review and analysis of the
               Receivership Entities’ files is ongoing, and documents are being produced on a
               rolling basis.

See generally Gwynne Decl., ¶ 14; Qureshi Decl., ¶¶ 6-8.

                                 Actual and Necessary Expenses

       12.     Reed Smith incurred $61,961.99 in reasonable and necessary expenses during the

Application Period. See Gwynne Decl, ¶ 15; Qureshi Decl., ¶ 11. Such expenses were actual and

necessary in connection with the services rendered by the Firm on behalf of the Receivership

Entities. Id. The Firm’s rate for duplication is $0.10 per page. The Firm also uses outside

duplication services for large photocopy work. Reed Smith utilized DLS Discovery for large

mailings of significant filings to over 320 parties-in-interest, including holders of “friends and

family” notes and former third-party consultants hired by the Receivership Entities.               Id.

Additionally, the Firm utilized “Gravity Stack,” a Reed Smith subsidiary that provides complete,

end to end managed services in litigation and internal investigations, to assist with data collection,

processing, hosting, and production in connection with the ongoing Department of Justice

investigation. Id.; Qureshi Decl., ¶ 11. A summary of the actual and necessary expenses incurred

by Reed Smith during the Application Period is attached as Exhibit C.

       13.     Reed Smith believes the foregoing rates are at or below the market rates that the

majority of law firms charge clients for such services. See Gwynne Decl, ¶ 15. In addition, Reed

Smith believes that such charges are in accordance with the American Bar Association’s (“ABA”)

guidelines, as set forth in the ABA’s Statement of Principles, dated January 12, 1995, regarding

billing for disbursements and other charges. Id.

                                   Charges for Legal Services

       14.     Attorneys and paraprofessionals of Reed Smith have expended a total of 3,954.20

hours in connection with this matter during the Application Period, as follows:


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          ATTORNEYS                            HOURS        2021 RATE        2022 RATE
          Kurt F. Gwynne                        162.90        $1,055.00        $1,125.00
          Mark S. Hersh                           2.90          $910.00             N/A
          Christopher A. Lynch                   81.40          $880.00          $935.00
          Rizwan (Rizzy) Qureshi                 43.10          $810.00          $950.00
          Brian M. Schenker                      25.00          $780.00          $780.00
          Jason D. Angelo                       377.00          $605.00          $695.00
          Kathryn M. Bayes                        2.10          $535.00          $615.00
          Derek M. Osei-Bonsu                     3.90             N/A           $575.00
          Austin D. Skelton                       2.50             N/A/          $535.00
          Justin W. Angotti                      25.40          $475.00          $530.00
          Emily C. Costantinou                   24.90          $455.00          $505.00
          Jonathan S. Barrera                    75.60             N/A           $595.00
          Shelley H. Kelly                        6.30             N/A           $470.00
          Todd R. Fairman                       329.30             N/A           $300.00
          Sharon A. Doherty                     275.30             N/A           $250.00
          Victoria Lee                          280.60             N/A           $250.00
          John Muir                             253.50             N/A           $185.00
          Arbaaz Rao                            240.60             N/A           $185.00
          Adrienne E. Johnson                   266.60             N/A           $165.00
          Alexander N. Alioto                   271.70             N/A           $165.00
          Lance V. McFadden                     281.80             N/A           $165.00
          Frank V.G. Arcuri                     274.10             N/A            $80.00
          Andrew R. Smith-Hoffman               276.00             N/A            $80.00
          Bill L. Puchnick                      244.70             N/A            $80.00

          PARAPROFESSIONALS                    HOURS        2021 RATE        2022 RATE
          Jennifer A. Marcolini                  20.10             N/A           $395.00
          Christopher LauKamg                    98.10          $350.00          $375.00
          Sherri L. Lauritzen                     4.60          $350.00             N/A
          Shikendra B. Rhea                       4.20          $295.00             N/A

       15.     The nature of the work performed by these persons is fully set forth in the attached

Exhibit B. The charges for the services rendered by Reed Smith to the Receiver and the

Receivership Entities during the Application Period is $1,212,009.50. A monthly breakdown of

the compensation sought for and the number of hours worked by each Reed Smith professional in

connection with this Case is set forth in Exhibit D.

       16.     Reed Smith respectfully submits that the amounts requested are reasonable given

(a) the complexity of this Case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, (e) the value of property of the estate enhanced, preserved


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and protected, and (f) the costs of comparable services (including in cases other than a receivership

case). See Gwynne Decl. ¶ 16; Qureshi Decl., ¶ 12.

        17.     This Application covers the period from November 4, 2021, through

March 31, 2022. Although every effort was made to include all fees and expenses from the

Application Period in this Application, some fees and/or expenses from the Application Period

might not be included in this Application due to delays in processing time and receipt of invoices

for expenses and/or for preparation of the instant Application subsequent to the Application Period.

Accordingly, Reed Smith reserves the right to make further applications to the Court for allowance

of fees and expenses not included herein.

                                       REQUESTED RELIEF

        18.     By this Application, the Receiver respectfully requests entry of an Order, in

substantially the form attached as Exhibit A (the “Proposed Order”), allowing and approving

compensation to Reed Smith in the amount of $1,212,009.50, reimbursement of expenses in the

amount of $61,961.99, and payment a security retainer in the amount of $50,000, for a total of
                                            1
$1,323,971.49 for the Application Period and (ii) granting such further relief as is appropriate.

                                        BASIS FOR RELIEF

        19.     The professionals retained by a court-appointed receiver are entitled to reasonable

compensation for services rendered and expenses incurred. SEC v. Byers, 590 F. Supp. 2d 637,

644 (S.D.N.Y. 2008). When granting fee awards, district courts are given “broad discretion” in




1 On or about March 17, 2022, the Receiver wired $292,520.98 (consisting of $242,520.98 of Reed Smith’s
fees and expenses incurred under the “General Counsel” matter from November 4, 2021 through December
31, 2021, plus a $50,000 security retainer) to Reed Smith. See Gwynne Decl. ¶ 13. On or about March 28,
2022, the Receiver wired $89,072 (i) in full payment of fees incurred under the “DOJ Investigation” matter
from December 1, 2021 through January 31, 2022 and (ii) in partial payment of fees and expenses incurred
between February 1, 2022 through February 28, 2022. Id.



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determining what is reasonable under the circumstances. See Baron v. Vullo, 699 F. App’x 102,

103 (2d Cir. 2017) (Court has broad discretion in setting and approving the fees of receivers and

professionals); see also Luciano v. Olsten Corp., 109 F.3d 111, 115 (2d Cir. 1997); SEC v.

Northshore Asset Mgmt., 2009 U.S. Dist. LEXIS 89947, *3 (S.D.N.Y. Sept. 29, 2009).

       20.     In determining what constitutes reasonable compensation for a receiver’s

professionals, the Court considers all of the factors involved in a particular receivership, such as

(1) “the complexity of problems faced,” (2) “the benefit to the receivership estate,” (3) “the quality

of the work performed,” and (4) “the time records presented.” SEC v. Qin, 2021 U.S. Dist. LEXIS

195124, *2 (S.D.N.Y. Oct. 4, 2021) (citing Byers, 590 F. Supp. at 644); see also SEC v. Fifth Ave.

Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973) (same). Accord SEC v. Morgan,

504 F. Supp. 3d 221, 223 (W.D.N.Y. 2020) (approving request for compensation where the issues

being litigated were complex; the efforts of the receiver and his professionals resulted in significant

benefits to the receivership estate; the services performed were satisfactory; the receiver submitted

detailed, contemporaneous time records reflecting his work and that of other professionals; and

the rates were reasonable and consistent with those previously approved by the court.); see also

6 A.L.R. Fed. 817, at §§ 7-12 (discussing factors).

       21.     In addition to fees, the Receiver’s professionals are “entitled to be reimbursed for

the actual and necessary expenses” that were “incurred in the performance of [their] duties.” Fed.

Trade Comm’n v. Direct Benefits Grp., LLC, 2013 U.S. Dist. LEXIS 172430, *3 (M.D. Fla. Dec.

6, 2013). Reed Smith supports its claims for reimbursement of expenses with “information for the

Court to determine that the expenses are actual and necessary costs of preserving the estate.” SEC

v. Kirkland, 2007 U.S. Dist. LEXIS 9858, *2 (M.D. Fla. Feb. 13, 2007) (citing In re Se. Banking

Corp., 314 B.R. 250, 271 (Bankr. S.D. Fla. 2004)).




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       22.     Further, “[t]he general rule regarding payment of receivership expenses is that

‘[c]osts and expenses of a receivership, including compensation for the receiver, counsel fees, and

obligations incurred by him in the discharge of his duties, constitute a first charge against the

property or funds in the receivership.’” Gaskill v. Gordon, 1993 U.S. Dist. LEXIS 2888, *6

(N.D. Ill. Mar. 5, 1993) (quoting 66 AM. JUR.2D RECEIVERS § 281). As such, payment of costs and

fees to a court-appointed and approved receiver and their professional team have been given top

priority by the courts. See, e.g., SEC v. Rex Venture Group LLC, 2014 U.S. Dist. LEXIS 45078,

*9-10 (W.D.N.C. Mar. 26, 2014).

       23.     Applying these standards, and as detailed above and in the narrative descriptions in

the invoices attached as Exhibit B, Reed Smith respectfully submits that it has demonstrated that

the fees and expenses requested for payment at this time are appropriate. Reed Smith respectfully

submits that it has provided extensive legal services for the benefit of the Receivership Entities

and their estates. See, e.g., Exhibit B; Gwynne Decl., ¶ 14; Qureshi Decl., ¶ 12. Moreover, the

issues involved in this Case are highly complex and cover a wide range of subject matters. The

invoices submitted contemporaneously with this Application indicate that Reed Smith worked

diligently in performing services on behalf of the Receiver and the Receivership Entities. See

Exhibit B. Accordingly, Reed Smith respectfully submits that the amounts requested by this

Application are fair and reasonable.

       24.     The requested compensation is in line with similar requests approved by courts in

this District and the Second Circuit. See., e.g., SEC v. Qin, 2021 U.S. Dist. LEXIS 195124, *1-2

(awarding receiver’s counsel $671,973.70 in compensation for a thirty (30) day period); Byers,

590 F. Supp. 2d at 644-45 (awarding and deeming as reasonable, for a twenty (20) day period,

$1,718,144.40 in compensation and expenses in the amount of $85,840.10); Mishcon De Reya N.Y.




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LLP v. Grail Semiconductor, Inc., 2014 U.S. Dist. LEXIS 22168, *5-6 (S.D.N.Y. Feb. 20, 2014)

(awarding receiver’s counsel $224,135.75 in fees and $2,318.20 in expenses).

       WHEREFORE, Reed Smith respectfully requests that the Court enter the Proposed Order,

in substantially the form attached as Exhibit A, (i) allowing and approving compensation to Reed

Smith in the amount of $1,212,009.50, reimbursement of expenses in the amount of $61,961.99,

and payment of a security retainer in the amount of $50,000, for a total of $1,323,971.49 for the

Application Period and (ii) granting such further relief to Reed Smith as is appropriate.

Dated: April 15, 2022
       New York, New York
                                              Respectfully submitted:

                                              REED SMITH LLP

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                                              Receiver of Theia Group, Inc., Theia Aviation LLC,
                                              and Theia Holdings A, Inc.




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